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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
___________________________________________________

UNITED STATES OF AMERICA

                             v.                                               5:05-CR-446
                                                                                  (FJS)
LEON MUSE and DARRELL HILLARD,

                              Defendants.
___________________________________________________

APPEARANCES                                         OF COUNSEL

OFFICE OF THE UNITED                                TERRENCE M. KELLY, AUSA
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Attorneys for Defendant Muse

SCULLIN, Senior Judge

                                            ORDER

       Currently before the Court is Defendant Muse’s October 30, 2006 motion to join in

Defendant Hillard’s motion to suppress intercepted wire communications and the evidence

derived therefrom on the same grounds as those that Defendant Hillard raised.

       As the Government correctly notes, however, the Court denied Defendant Hillard’s

motion to suppress these items in its August 29, 2006 Memorandum-Decision and Order.

Therefore, the Court denies Defendant Muse’s motion as moot.

       Accordingly, after carefully considering the parties’ submissions in support of, and in
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opposition to, this motion and the relevant law, the Court hereby

       ORDERS that Defendant Muse’s motion to suppress intercepted wire communications

and the evidence derived therefrom is DENIED AS MOOT; and the Court further

       ORDERS that counsel shall appear for the Final Pretrial Conference in this matter on

March 8, 2007, at 3:00 p.m., in Syracuse, New York, and the Court further

       ORDERS that the trial of this matter will commence on March 19, 2007, at 9:30 a.m.,

in Syracuse, New York.




IT IS SO ORDERED.




Dated: February 15, 2007
       Syracuse, New York




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